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		OSCN Found Document:THIRD EMERGENCY JOINT ORDER REGARDING THE COVID-19 STATE OF DISASTER

					

				
  



				
					
					
						
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				THIRD EMERGENCY JOINT ORDER REGARDING THE COVID-19 STATE OF DISASTER2020 OK 23Decided: 04/29/2020IN THE SUPREME COURT OF THE STATE OF OKLAHOMAANDIN THE OKLAHOMA COURT OF CRIMINAL APPEALS
Cite as: 2020 OK 23, __ P.3d __

				
THIRD EMERGENCY JOINT ORDER REGARDING 
THE COVID-19 STATE OF DISASTER


1. This order modifies the First and Second Joint Emergency Orders (SCAD Nos. 2020-24 &amp; 2020-29) from the Supreme Court and the Court of Criminal Appeals.

2. This order is intended to assist judges and court clerks in all 77 counties with transitioning from shelter in place directives. Local practices should continue to be adopted by courts and county and city officials through orders available to the public.

3. Paragraph 3 of the Second Emergency Joint Order remains in effect and is modified to the extent that all Civil and Criminal jury trials shall be rescheduled on the next available jury docket after July 31, 2020. Any exception shall be approved by the Chief Justice in consultation with the Presiding Judge of the Court of Criminal Appeals.

4. In the event that there is an objection to the continuance of any civil or criminal jury trial, the assigned judge shall make a full record including reference to all Joint Orders Regarding the Covid-19 State of Disaster.

5. Paragraphs 4 and 5 of the Second Emergency Joint Order remain in effect to May 15, 2020. In all cases, the period from March 16, 2020 to May 15, 2020, during which all rules and procedures, and deadlines, whether prescribed by statute, rule or order in any civil, juvenile or criminal case were suspended, will be treated as a tolling period. May 16th shall be the first day counted in determining the remaining time to act. The entire time permitted by statute, rule or procedure is not renewed.

6. Beginning on May 16, 2020, all rules and procedures, and all deadlines whether prescribed by statute, rule or order in any civil, juvenile or criminal case, shall be enforced, including all appellate rules and procedures for the Supreme Court, the Court of Criminal Appeals, and the Court of Civil Appeals.

7. For all cases pending before March 16, 2020, the deadlines are extended for only the amount of days remaining to complete the action. For example, if the rule required the filing of an appellate brief within 20 days, and as of March 16, ten (10) days remained to file the brief, then the party has 10 days with May 16, 2020 being the first day.

8. For all cases where the time for completing the action did not commence until a date between March 16 and May 15, 2020, the full amount of time to complete the action will be available. May 16th shall be the first day counted in determining the time to act.

9. In cases involving any deadlines for perfecting an appeal or other appellate proceedings, requests for relief should be directed to the court involved and should be generously granted.

10. Paragraph 6 of the Second Joint Emergency Order is modified to the extent that all civil and criminal non-jury hearings and other matters may be set after May 16, 2020.

11. Judges and other courthouse personnel shall continue to use all available means to ensure the health of all participants in any court proceeding. Judges are encouraged to continue to use remote participation to the extent possible by use of telephone conferencing, video conferencing pursuant to Rule 34 of the Rules for District Courts, Skype, Bluejeans.com and webinar based platforms. Zoom remains blocked on all equipment provided by the AOC/MIS. Judges are encouraged to develop methods to give reasonable notice and access to the participants and the public.

12. Local county officials will continue to guide the extent to which county buildings are closed or have restricted access to the public, All areas of a county facility occupied by judges, judicial staff, court clerks and staff may remain closed to the public with exceptions for all matters and as permitted by local order. Local court orders should specify the terms and conditions required by the public in order to permit entrance, including the requirement that all persons entering the court facilities wear masks and gloves.

13. People who are ill for any reason should be restricted from entering any facility, as set out in paragraph 6 of the First Joint Emergency Order. Social distancing should be practiced. All persons should be reminded to wash their hands. To that end, county facilities are responsible for providing soap and water.

14. To the extent that necessary and emergency in person dockets are being held, not more than 10 persons including the judge and court personnel shall be in a courtroom or other area at one time. This recommendation will remain in effect until public and health officials expand this number to 50 or more.

15. Court clerks and judges may continue to use mail, email, and drop off boxes for acceptance of written materials and correspondence with parties/counsel. All appellate filings shall continue to be made by mail or third party commercial carrier until further notice posted on OSCN.

16. All dispositive orders entered by judges between March 16, 2020 and May 15, 2020 are presumptively valid and enforceable.

17. It is anticipated that additional transitional orders may be entered as deemed necessary.

IT IS SO ORDERED.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 29th DAY OF APRIL, 2020.


/S/NOMA D. GURICH, CHIEF JUSTICE


WITNESS OUR HANDS AND THE SEAL OF THIS COURT THIS 29th DAY OF APRIL, 2020.


/S/DAVID B. LEWIS, PRESIDING JUDGE







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